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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                   07/18/2023

WANYE BALIGA,
                                                18 Civ. 11642 (VM)
                       Plaintiff,
                                                ORDER
                - against -

LINK MOTION INC., et al.,

                       Defendant.


VICTOR MARRERO, United States District Judge.

     The    court-appointed      receiver,     Robert    W.    Seiden

(“Receiver”), and plaintiff, Wayne Baliga (“Baliga”), are

directed to respond to the allegations made by Vincent Wenyong

Shi in a letter submitted to the Court dated July 17, 2023

(Dkt. No. 454) regarding the payments made by the Receiver’s

agent in China, Francis “Lilin” Guo, to Baliga’s counsel at

Greenberg Traurig, LLP. The Receiver and Baliga shall file

their responses within five (5) days of the date of this

Order.

SO ORDERED.

Dated:     18 July 2023
           New York, New York



                                          _________________________
                                               Victor Marrero
                                                  U.S.D.J.




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